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United States District Court
Southern District of New York                                      1:20-cv-11097

Donna       Brietzke, Damara     Alicea,
individually and on behalf of all others
similarly situated,
                                Plaintiffs,

                 - against -                                  Class Action Complaint

Chobani, LLC,
                                Defendant

       Plaintiffs alleges upon information and belief, except for allegations pertaining to plaintiffs,

which are based on personal knowledge: Damara Alicea Donna Brietzke


       1.    Chobani, LLC (“defendant”) manufactures, labels and markets Greek yogurts

claiming to contain “45% Less Sugar Than Other Yogurts*” (“Product”).
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        2.     Defendant’s bold “Less Sugar” claim is enticing to consumers seeking to reduce

sugar, but it is also misleading.

        3.     In 2014, the National Institutes of Health cautioned: “experts agree that Americans

eat and drink way too much sugar, and it’s contributing to the obesity epidemic. Much of the sugar

we eat isn’t found naturally in food but is added during processing or preparation.”1

        4.     The NIH noted further: “[s]everal studies have found a direct link between excess

sugar consumption and obesity and cardiovascular problems worldwide.”2

        5.     There has long been a consensus among doctors and nutritionists that “[e]ating too

much sugar contributes to numerous health problems, including weight gain, Type 2 diabetes,

dental caries, metabolic syndrome and heart disease, and even indirectly to cancer because of

certain cancers’ relationship to obesity.”3

        6.     In addition, “there is emerging research that suggests high-sugar diets may increase

the risk of developing [dementia].”4

        7.     At least in part due to growing consumer awareness of health problems caused by

excessive sugar consumption, in recent years consumers have shown a distinct preference for

products with little or no added sugar.

        8.     In August 2016, an article in “Prepared Foods” magazine noted that “[o]ngoing

concerns about obesity and sugar intake have driven interest in reduced sugar and diet drinks in

recent years.”5

        9.     As another observer of the food industry explained in May, 2017: “[h]ealth concerns


1
  NIH, Sweet Stuff: How Sugars and Sweeteners Affect Your Health, October 2014.
2
  Id.
3
  Marlene Cimons, Eating too much sugar can hurt your health, and for some it’s actually addictive, Washington Post
December 16, 2017.
4
  Kieron Rooney, Yes, too much sugar is bad for our health – here’s what the science says, The Conversation, March
8, 2018.
5
  PreparedFoods.com, Trends in Sugar Reduction and Natural Sweeteners, August 24, 2016.


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and better educated consumers are propelling the demand for sugar reduction across food and

beverage categories. . . Sugar reduction will be one of the top marketing claims prominently

featured on products in      the coming year.           .   .”6

        10.   Similarly, an article in the February 28, 2018, edition of “Food Business News”

reported that “[s]peakers addressing consumer trends at the International Sweetener Colloquium

in Orlando on February 13 said sugar avoidance was a macro trend ‘that is here to stay and will

only increase.’”7

        11.   Though consumers seek to reduce their sugar consumption, they still want foods that

are sweet.

        12.   Nutritive sweeteners are those that contain calories, like traditional white table sugar,

and honey.

        13.   Non-nutritive sweeteners provide sweetness with minimal, if any calories and

include plant-based stevia and monk fruit extract.

        14.   Credible survey evidence shows that a significant percentage of consumers consider

non-nutritive sweeteners as acceptable substitutes for nutritive sweeteners.

        15.   Consumers regularly purchase yogurts that have nutritive and non-nutritive

sweeteners.

        16.    In fact, when asked about their preferred substitutes for refined white sugar in food,

over 25% identified non-nutritive, plant-derived sweeteners, which include stevia and monk fruit.

        17.   Another 20% chose zero calorie synthetic sweeteners as a viable method of reducing

their sugar consumption.



6
  Laura Dembitzer, Less is More: Sugar Reduction, Less Sodium & Low-FODMAPS in Food, Beverage, Food Insider
Journal, May 09, 2017.
7
  Ron Sterk, Avoidance of sugar remains macro trend, Food Business News, February 28, 2018


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       18.      The FDA has stated that yogurts can be flavored with any safe and suitable

sweetening ingredients, which includes nutritive and non-nutritive sweeteners.

       19.      The FDA also stated that the production of yogurt with either type of sweetener does

not affect the basic nature and essential characteristics of yogurt.

       20.      In seeking to cut back on sugar consumption, consumers rely on nutrient content

claims to tell them important product information in a concise format. 21 C.F.R. § 101.13 (“general

principles”).

       21.      “Relative [nutrient content] claims” provide a basis for comparing the level of a

nutrient in one food to its level in another. 21 C.F.R. § 101.13(j) (including “light,” “reduced,”

“less” and “more”); 21 C.F.R. §§ 101.54-101.69 (“Subpart D—Specific Requirements for Nutrient

Content Claims”).

       22.      In making a relative claim that uses the term “less,” the reference food must be (1)

representative of the type of food that includes the product that bears the claim or (2) the

manufacturer's regular product. 21 C.F.R. § 101.13(j)(1)(ii)(A); 21 C.F.R. § 101.13(j)(1)(ii)(B).

       23.      A reference food can be a dissimilar food within a product category that can be

substituted for one another in the diet (e.g., potato chips as reference for pretzels) or a similar food

(e.g., potato chips as reference for potato chips). 21 C.F.R. § 101.13(j)(1)(i)(A).

       24.      A manufacturer's regular product provides a reference to a known specific food and

consequently provides a meaningful basis for comparative claims which compare one product

directly to another.

       25.      These requirements allow companies to make comparisons which are useful to

consumers on foods that are generally interchangeable in the diet (for example, “apples have less

fat than potato chips”).




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       26.    These criteria are intended to prevent a company from cherry-picking data so it can

make a more favorable, yet misleading comparison, at the expense of consumers.

       27.    The Product states “45% Less Sugar Than Other Yogurts*,” which is a relative

nutrient content claim for sugar. 21 C.F.R. § 101.60(c)(5) (“The terms "reduced sugar," "reduced

in sugar," "sugar reduced," "less sugar," "lower sugar" or "lower in sugar" may be used on the

label or in labeling of foods…provided that…”).

       28.    Relative nutrient content claims for sugar are required to be based on a validly

selected reference food. 21 C.F.R. § 101.60(c)(5)(i) (“The food contains at least 25 percent less

sugar per reference amount customarily consumed than an appropriate reference food as described

in § 101.13(j)(1)”).

       29.    Defendant’s “Other Yogurts” purport to represent such a reference food, with the

information panel disclosure stating “*Chobani® Less Sugar Greek Yogurt: 9g sugar per 5.3oz;

other yogurts: avg. 17g sugar per 5.3oz.”

       30.    However, Defendant’s “Other Yogurts” excludes similar yogurts that consumers

regard as sufficiently similar alternatives to its Product, because they contain non-nutritive

sweeteners.

       31.    When non-nutritive sweetened yogurts are included in the “other yogurts,” the

average amount of sugar is 12.22g per 5.3 oz instead of 17g.

       32.    This means the representation that the Product has 45% less sugar than other yogurts

is false, deceptive, misleading and unlawful.

       33.    Instead, the Product only has 25% less sugar when accurately compared.

       34.    Reasonable consumers are unable to know or find out that Defendant’s comparative

sugar reduction claim is based upon cherry-picking the data it used to arrive at its “45% Less




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Sugar” claim.

       35.    The effect of excluding such products from its calculation of an appropriate reference

food is to give the impression that the Product has significantly less sugar than it does, relative to

other yogurts which have significantly less sugar than it has.

       36.    The reason why requirements exist in selecting reference foods is because this

information is intended to not only tell consumers about the manufacturer’s product, but also tells

them about other products.

       37.    Since the Product tells consumers information about its sugar content and the sugar

content of other yogurt products, consumers will feel they do not need to review other products to

find a suitable choice in seeking a sugar-reduced yogurt.

       38.    Defendant’s “45% Less Sugar” claim means consumers will choose its Product and

overlook others which would be nutritionally more appropriate in helping them reduce their sugar

consumption.

       39.    This means consumers will not consider the range of yogurts that can satisfy their

requirements, like those containing non-nutritive sweeteners like sucralose or stevia.

       40.    Based on consumer substitution between nutritive and non-nutritive sweeteners, and

acceptance of both, they are misled by Defendant’s “45% Less Sugar” claim into purchasing the

Chobani product, expecting a greater sugar reduction than they receive.

       41.    The value of the Product that plaintiffs purchased was materially less than its value

as represented by defendant.

       42.    Had plaintiffs and class members known the truth, they would not have bought the

Product or would have paid less for them.


       43.    The Product is sold for a price premium compared to other similar products, no less



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than $2.99 for 5.3 OZ, higher than it would otherwise be sold for absent the misleading

representations.

                                       Jurisdiction and Venue


         44.   Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2)

         45.   Under CAFA, district courts have “original federal jurisdiction over class actions

involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]” Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

         46.   Plaintiff Donna Brietzke is a citizen of Massachusetts.

         47.   Defendant Chobani, LLC is a Delaware limited liability company with a principal

place of business in Norwich, Chenango County, New York and though at least one member of

Defendant is a citizen of New York, upon information and belief, at least one member of defendant

is not a citizen of New York.

         48.   “Minimal diversity” exists because plaintiff Donna Brietzke and defendant are

citizens of different states.

         49.   Upon information and belief, sales of the Product and statutory and other monetary

damages, exceed $5 million during the applicable statutes of limitations, exclusive of interest and

costs.

         50.   Venue is proper because a substantial part of the events or omissions giving rise to

the claim occurred here - plaintiff Damara Alicea’s purchase of the Product.

         51.   Venue is further supported because many class members reside in this District.




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                                                  Parties

         52.   Plaintiff Donna Brietzke is a citizen of Melrose, Middlesex County, Massachusetts.

         53.   Plaintiff Damara Alicea is a citizen of Bronx, Bronx County, New York.

         54.   Defendant Chobani, LLC is a Delaware corporation with a principal place of

business in Norwich, New York, Chenango County.

         55.   During the relevant statutes of limitations for each cause of action alleged, plaintiffs

purchased the Product within their district and/or State in reliance on the representations of the

Product.

         56.   Plaintiff Brietzke bought the Product at one or more locations, including Shaws, 34

Essex St, Melrose, MA 02176, between September 13 and September 20, 2020, among other times.

         57.   Plaintiff Alicea bought the Product at one or more locations, including Whole Foods,

1 Ridge Hill Boulevard, Yonkers, NY 10710, in November and/or December 2020, among other

times.

         58.   Plaintiffs bought the Product at or exceeding the above-referenced price because they

liked the product for its intended use and consumption and relied upon the representations and the

impression conveyed as to the Product’s relative sugar content.

         59.   Plaintiffs consider non-nutritive sweeteners as substitutes for nutritive sweeteners

when purchasing yogurt.

         60.   Plaintiffs would not have purchased the Product in the absence of Defendant’s

misrepresentations and omissions.

         61.   The Product was worth less than what Plaintiffs paid for it and they would not have

paid as much absent Defendant's false and misleading statements and omissions.

         62.   Plaintiffs intends to, seeks to, and will purchase the Product again when they can do

so with the assurance that Product's labeling is consistent with its composition.


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                                         Class Allegations


       63.    The class will consist of all purchasers of the Product who reside in Massachusetts

and New York during the applicable statutes of limitations.

       64.    Plaintiffs seeks class-wide injunctive relief based on Rule 23(b) in addition to a

monetary relief class.

       65.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiffs and class members are entitled to

damages.

       66.    Plaintiffs' claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       67.    Plaintiffs are adequate representative because their interests do not conflict with

other members.

       68.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       69.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       70.    Plaintiffs' counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       71.    Plaintiffs seek class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350
                                    (Consumer Protection Statutes)

       72.    Plaintiffs incorporate by reference all preceding paragraphs.

       73.    Plaintiffs and class members desired to purchase a product with a reduced sugar

content and were enticed to buy Defendant’s Product on the basis that 45% less sugar was a


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substantial reduction compared to other yogurts.

       74.      Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       75.      Defendant misrepresented the Product through its statements, omissions, ambiguities

and actions.

       76.      Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                         Negligent Misrepresentation

       77.      Plaintiffs incorporate by reference all preceding paragraphs.

       78.      Defendant misrepresented the Product.

       79.      This duty is based on defendant’s position, holding itself out as having special

knowledge and experience in the sale of the product type.

       80.      The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, a well-known and respected brand or entity in this sector.

       81.      Plaintiffs and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Product.

       82.      Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                                Fraud


       83.      Plaintiffs incorporate by reference all preceding paragraphs.

       84.      Defendant misrepresented the attributes and qualities of the Product.

       85.      Defendant’s fraudulent intent is evinced by its failure to accurately identify the



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Product’s relative sugar content, when it knew not doing so would mislead consumers.

       86.    Plaintiffs and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                           Unjust Enrichment

       87.    Plaintiffs incorporate by reference all preceding paragraphs.

       88.    Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiffs and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiffs demand a jury trial on all issues.

    WHEREFORE, Plaintiffs pray for judgment:

   1. Declaring this a proper class action, certifying plaintiffs as representatives and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory damages pursuant to any statutory claims and

       interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiffs' attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: December 31, 2020


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                                        Respectfully submitted,

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                                        S.D.N.Y. # SS-2056




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United States District Court
Southern District of New York

Donna Brietzke, Damara Alicea, individually and on behalf of all others similarly situated,


                                        Plaintiffs,


        - against -


Chobani, LLC,


                                         Defendant




                                  Class Action Complaint



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Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: December 31, 2020
                                                                        /s/ Spencer Sheehan
                                                                         Spencer Sheehan
